Case 2:99-cr-20073-.]DB Document 247 Filed 07/06/05 Page 1 of 2 Page|D 177

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uNrTED sTATEs oF AMERICA, W@ 35 iii iifi¢i?til$
P|aintiff,
vs. cR. No. 99-20073-5
cLAR/-\ ToRREs,
Defendant.

 

ORDER ON CONTINUANCE AND SPEC|FY|NG PERiOD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on June 23, 2005. At that time counsel for
the government requested a continuance of the Ju|y 5, 2005 trial date due to the
defendants fugitive status.

The Court granted the request and reset the trial date to August 1, 2005 with a

report date of Mc:mda\yl Ju|y 25l 2005l at 9:30 a.m., in Courtroom 1, 11th F|oor ofthe
Federal Bui|ding, i\/iemphis, TN.

 

The period from Ju|y 15, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 31 61 (h)(1 )(A) and (B) because the defendant is either absent or unavailable and

her presence cannot be determineci{)r obtained by due diligence
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lT is so oRoERED this §

day 0 Ju|y, 2005.

 
   

 

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UNITED `STATE DISTRICT COURT - WESTER D'S'TRCT 0 TESSEE

   

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This notice confirms a copy of the document docketed as number 247 in
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Honorable J. Breen
US DISTRICT COURT

